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Attorne s for Defendants
RANG R INSURANCE COMPANY and
RIVERSTONE CLAIMS MANAGEMENT, LLC
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

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MONARCH PLUMBING Case No. 2106-cV-01357-WBS-KJM

coMPANY, INC.,
NoTIcE oF MoTIoN AND
Plaintiff, MoTIoN oF DEFENDANTS To
DISMISS ACTIoN FoR' FAILURE
v. To sTATE A cLAlM-
DECLARATIoN oF WILsoN B.
RANGER INSURANCE coMPANY, ToWNsEND 11 sUPPoRT
RIVERsToNE cLAIMs THEREoF
MANAGEMENT, LLC, and DoEs 1
through 300, [FRCP 12<b)<6)]

Defendants DA-TE: Au ust 7 , 2006
TIME: 1:3 p.m.
CTRM: 5

Assi ned to the Honorable Winiam B.
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TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

' PLEASE TAKE NOTICE that on August 7, 2006 at 1:30 p.m. , or as soon
thereafter as this matter may be heard in Courtroom 5 of the above-entitled Court,
located at 501 I Street, #4-200, Sacramento, California 95814, defendants
RANGER INSURANCE COMPANY (“Ranger”) and RIVERSTONE CLAIMS
2 8 MANAGEMENT, LLC (“RiverStone”) Will and hereby do move this Court to

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a CHAMBER‘-IN '-LP MOTION OF DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

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1 dismiss the entire complaint as against RiverStone and Ranger pursuant to Federal
2 Rule of Civil Procedure (“FRCP”) l2(b)(6)'.
3 MoTIoN To DISMISS
4 RiverStone moves to dismiss Monarch’s complaint pursuant FRCP l2(b)(6)
5 on the grounds that the First, Second, Third and Fourth Claims for Relief do not
6 assert a cognizable legal theory under which Monarch may recover from v
7 RiverStone and do not allege facts sufficient to state claims upon which relief may
8 be granted. RiverStone is a claims agent acting on behalf of Ranger. RiverStone
' 9 ` is not a party to the insurance contract with Monarch which forms the basis of all
1 0 Claims for Relief. g
1 1 Ranger moves pto dismiss Monarch’s complaint pursuant FRCP 12(b)(6)` on
12 the grounds that the First, Second, Third and Fourth’Claims for Relief do not
1 3 assert a cognizable legal theory under which Monarch may recover from Ranger
1 4 and do not allege facts sufficient to state claims upon which relief may be granted.
15 The specific grounds are as follows:
1 6 l. Monarch’s First Claim for Relief for Declaratory Relief should be
1 7` dismissed on the following grounds:
1 8 0 The claim for declaratory relief should be dismissed because
1 9 Ranger does not owe Monarch any of the duties or obligations
2 0 which Monarch is seeking to obtain a judicial determination of.
2 1 2. Monarch’s Second Claim for Relief for Breach of Contract should be
22 dismissed on the following grounds:
2 3 0 Monarch’s breach of contract claim for relief does not allege a
24 breach of an express provision of the insurance contract
25 between Monarch and Ranger.
2 6 ¢ Monarch’s breach of contract claim for relief runs counter to
2 7 the broad discretion given to insurers in investigating,
2 8 defending and settling cases.
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3. Monarch’s Third Claim for Relief for Breach of the Covenant of

Good Faith and Fair Dealing should be dismissed on the following

grounds :

Monarch’s claim for relief for breach of the covenant of good
faith and fair dealing cannot be maintained without an .
allegation that the insurer unreasonably denied benefits due
under the policy.

Monarch’s breach of the covenant of good faith and fair
dealing claim for relief runs counter to the broad discretion

given to insurers in investigating, defending and settling cases.

4. Monarch’s Fourth Claim for Relief for Injunctive Relief,

Disgorgement and/or Restitution Pursuant to Business and

Professions Code § 17200,» et. seq_. should be dismissed on the

following grounds:

Monarch has an adequate remedy at law.
Monarch has_not suffered an injury in fact.
Monarch’s complaint has not complied with the procedural

requirements applicable to class-action suits.

This motion is based upon this notice of motion and motion, the attached

memorandum of points and authorities filed herewith, the Declaration of Wilson

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B. Townsend, II, the pleadings on file herein and upon such other argument and

 

1
2 evidence as may be presented to the Court at the hearing of this matter.
3
4 DATED: June 26, 2006 ' -Respectfully submitted,
5 CHARLSTON REVICH & CHAMBERLIN LLP
6 §§%§§}FE‘§@.‘§%%¥E¥E
7
8 By: Mj/w“ /M
9 Robert W. Keaster, "`3
Attorneys for Ran er Insurance Company
1 0 and RiverStone C aims Management, LLC
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11 Monarch ...................................... 6
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27 /// FAIR DEALING UPON WHICH RELIEF CAN BE GRANTED . . . . 15
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IX.

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A. Ranger has no duty to apprise Monarch of actions and
communications taken on behalf of additional insureds
because the additional insureds are adverse litigants to
Monarch and under California law and the policy, Ranger
owes a separate duty to them ........................ 15

7 B. Range_r has no duty to seek or obtain Monarch’s input and

expertise on claims because under _the express terms of the
insurance policy, Ranger has the right to control the defense . . . . 16

C. The benefits Monarch is claiming it was denied are not benefits
under the policy ................................ 17

(i) Monarch ass_erts that Ranger denied policy benefits to it
by not allowing Monarch to re uest of claimants whether
such claimants have an actual, actual basis for such
claims (See Complaint 1111 9(a), 13, 16(f), 23(c)) ........ 17

(ii) Monar_ch asserts that Ranger denied polic§y benefits to it -
by settin hi h loss reserves for claims (_ ee Complaint 1[1[
6(a), 23 c), 0)) ............................ 17

(iii) Monarch_ asserts that Ranger_ denied policy benefits to_ it
by negotiating settlements without evaluating the merits
o the claim ............................... 18

PLAINTIFF FAILS TO STATE A CLAIM AGAINST RANGER
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A. Monarch’s claim for relief for violation of § 17200 fails as
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B. Monarch’s claim for relief for violation of § 17200 fails as
a matter of law because Monarch has received all benefits
dui=i:_ under the Ranger Policy and has not suffered an injury 19
in act .......................................

C. Monarch’s claim for~relief for violation of § 17200 fails as
a matter of law because Monarch has not complied with
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ii
MOTION OF DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTIoN n ~

In this action, Monarch complains that its insurer is spending too much of
its own money defending and settlingclaims~ against Monarch and other additional
insureds under a commercial package policy issued to Monarch. Ranger issued a
commercial package policy to Monarch, Policy no. RP0011520700 effective from
December 15 , 1998 to December 15 , 1999 (the “Ranger Policy”).1 The limit of
liability per occurrence and in the aggregate for products/completed operations is
$1,000,000. '

This is not your typical insurance coverage dispute where the insured
contends that the insurer has failed to defend or indemnify it for a claim covered
under the insurance policy. In this case, the insured contends that the insurer is
providing more benefits than it should. It is significant to note that the Ranger
Policy is not reduced by defense costi Monarch alleges that Ranger has been
defending and settling claims that have no merit. See Complaint 1[1[ 16(e), 23(c),
30. Based upon this purported misconduct, Monarch seeks declaratory relief,
breach of contract, breach of the covenant of good faith and fair dealing and
violation of the Business and Professions Code § 17200, et seq.2 Each of these
claims for relief fails to state a claim.

Monarch’s breach of contract claim fails to state a claim against Ranger for

which relief can be granted because it is not premised upon a breach of any

 

22 provision in the Ranger Policy. Monarch cannot state a claim against Ranger for

23 '

2 4 1 Attache_d as Exhibit A to the Dec. of Wilson B. Townsend ll (“Iownsend
Declaration”), is a true and correct-copy of the comprehensive general liability

2 5 portion of the Ran er Polic&/. Pursuant to _Lee v_. (_§'z of Los Angeles (9th Cir.

001) 250 F.3d 6 , 689 ( th C_ir. _20_01), if laintif fails to attach to the

2 6 complaint the documents on which it_ is base , defendant may _attach the
documents referred to in th_e complaint to a Rule 12(b)(6) motion to show that

2 7 they do not support the plaintiff’s claim.

2 8 2 All further statutory references are to the Business and Professions Code
unless otherwise indicated 1

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breach of contract based upon Ranger’s defense and settlement of claims made
against Monarch. In fact, Monarch’s allegations demonstrate that Ranger has
complied with its obligations under the insurance contract to defend and indemnify
Monarch. Similarly, Monarch cannot state a claim against Ranger for breach of
the implied covenant of good faith and fair dealing based upon allegations that
Ranger is spending too much of its own money defending and settling claims.
Since there has been no breach of the insurance contract and no specific allegation
that Ranger has denied Monarch benefits due under the Ranger Policy, Ranger
cannot be liable to Monarch for breach of the implied covenant of good faith and
fair dealing.

Monarch’s claim for relief for violation of § 17200, et seq. similarly fails to
state a claim for relief . _The complaint asserts that all of the actions and inactions
alleged have denied policyholders of their rights under insurance policies_. S_ee
Complaint 1[ 32. Therefore, the complaint, on its face, is solely a claim for relief

for alleged breach of contract, It is essential that a plaintiff have no adequate

remedy at law in order to plead a claim for violation of § 17200, et seq. Because

Monarch has an adequate remedy at law for alleged breach of contract, it cannot
maintain an action for violation of § 17200, et seq. Additionally, Monarch cannot
state a claim for violation of § 17200, et. seq. on the basis that Ranger defended
claims that had no merit since Ranger is contractually obligated to defend such
claims. Public policy mandates that insurers pick up the defense of their insureds
whether or not the claims have merit and to settle those claims which the insurer
determines in its discretion should be settled. The Ranger Policy does not require
Monarch’s consent to settle claims and specifically affords Ranger discretion in
determining which actions should be settled. See Townsend Declaration Exhibit
A, page 13.

RiverStone has been sued solely in its capacity as the agent retained by

Ranger to administer claims on its behalf. See Complaint j[ 4. Monarch has failed

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to state a claim against RiverStone upon which relief can be granted because
RiverStone is an agent of Ranger and owes no duties to Monarch. RiverStone is
not a party to the Ranger Policyl and cannot be held liable for any claims based
upon the Ranger Policy. `

Monarch’s complaint should be dismissed in its entirety without leave to
amend as to RiverStone because RiverStone acted solely as the claims agent of
Ranger and owed no duties to Monarch, With respect to the claims for relief
against Ranger, Monarch’s First (Declaratory Relief), Second (Breach of
Contract), Third (Breach of the Covenant of Good Faith and Fair Dealing) and
Fourth (Violation of § 17200, et seq.) Claims for Relief should be dismissed since l
Monarch has failed to allege any actionable wrongdoing by Ranger.

II. MONARCH’S COMPLAINT

The gravamen of Monarch’s claims against Ranger is that Ranger is
providing too many benefits to Monarch by defending and resolving claims which
Monarch believes are without merit. Specifically, Monarch asserts that it is
entitled under the law and policy to determine whether claims made against it have
a factual basis before making tender to Ranger (See Complaint 111 9(a), 13, 16(f),
23 (c)), that Ranger cannot unilaterally impose defense counsel vto defend it without
Monarch’s consent or permission or against Monarch’s will (See Complaint 111[
9(e), 13, l6(j), 3l(f)) and that Ranger must obtain Monarch’s consent before it
accepts the tender of parties insured as additional insureds by endorsement to the
policy issued to Monarch (See Complaint 1[1[ 9(1), 13, 16(k)). Monarch also asserts
that Ranger has breached the insurance contract by setting high loss reserves on
construction claims (See Complaint 111[ l6(a), 23(c), 30, 31(g)), by settling claims
for an amount lower than the reserves set by Ranger, by settling claims against
Monarch for an amount higher than the claims merit (See Complaint 111 16(b),'
31(g)) and by defending Monarch from claims without providing Monarch with

the opportunity to determine whether the claims have merit (See Complaint 1[1[

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9(a), 13, 16(1), 23(c)).

In other words, Monarch complains that it received too many benefits under

3 the policy. Monarch’s claims are without merit because the insurance policy

expressly provides Ranger with the authority to control the defense of claims made-
against Monarch and the discretion to settle claims which Ranger believes should
be settled. Based upon these allegations, Monarch asserts claims for relief for
declaratory relief, breach of contract, breach of the covenant of good faith and fair
dealing and violation of § 17200, et seq.

III. THE RANGER POLICY

The Ranger Policy provides that Ranger has “the right and duty to defend
the insured against any “suit” seeking . . . damages [to which this insurance
applies]. . . . We may at our discretion investigate any “occurrence” and settle
any claim or “suit” that may result. ” [Commercial General Liability Coverage
Form (“CGL Form”), Sect. I.l.a, attached as Exhibit A to the Townsend
Declaration, page 13]. Pursuant to the terms of the Ranger Policy, Ranger
handled commercial general liability claims made against Monarch, including
defending and settling those claims.

The Ranger Policy contains a “Blanket Additional Insured(s)” endorsement
which amends Section II ~ WHO IS AN INSURED under the commercial general »
liability coverage form to include the~person(s) or organization(s) specifically
designated as an additional insured. [Commercial General Liability Coverage
Part, Blanket Additional Insured(s) endorsement, form ACP-040 (3/97), attached
as Exhibit A to the Townsend Declaration, page 44]§ Ranger also issued several
additional insured endorsements to developers and general contractors which
Monarch had agreed to perform plumbing services for. See Townsend
Declaration Exhibit B. The Additional lnsured Endorsements amended the
\definition‘of “Who Is An Insured” to include the developer/ general contractor

with respect to liability arising out of work performed by Monarch for the

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developer/ general contractor. See Townsend Declaration Exhibit B.

The Ranger Policy further provides that the insurance applies “[s]eparately
to each insured against whom claim is made or “suit” is brought. ” [CGL Form,
Se_ct. IV.7.b, attached as Exhibit A to the Townsend Declaration, page 21].

'Significantly, unlike most workers’ compensation policies, the Ranger
Policy did not contain a retrospective premium feature. The premium owed under
the Ranger Policy was not contingent upon the loss experience of the claims made
under the Ranger Policy. The absence of a retrospective premium feature is
critical because it means that Monarch’s loss history did not effect its premiums
under the Ranger Policy and that every dollar paid to defend and indemnify
Monarch was Ranger’s, exclusive of deductibles.

IV. STANDARD OF REVIEW
Dismissal is required under FRCP 12(b)(6) where there is a “lack of
cognizable legal theory” or “absence of sufficient facts alleged under a cognizable

theory.” Balistreri v. Pacijica Police Dept. 901 F.2d 696, 699 (9th Cir. 1988).
Dismissal should be made with prejudice if “ it appears beyond doubt that the
plaintiff can prove no set of facts in support of his claim which would entitle him'
to relief.” Conley v. Gibson (1957) 335 U.S. 41, 45-46.

V. MONARCH FAlLS TO STATE A CLAIM AGAINST RIVERSTONE

UPoN wHICH RELIEF CAN BE GRANTED `

The complaint fails to state a claim against RiverStone upon which relief can
be granted. As.properly identified in the complaint filed by Monarch, RiverStone 2
manages construction defect claims made under policies of insurance issued by

Ranger. Complaint at 1[ 4. RiverStone’s involvement in the dispute arises solely

2 5 as the result of its retention by Ranger as its claims agent.
2 6 ///
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A. RiverStone is an Agent of Ranger and Cannot Be Sued
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Under California law, it is well settled that “an agent of an insurance
company is generally immune from suits brought by claimants for actions taken
while the agent was acting within the scope of its agency. ” Icasiano v. Allstate
InS. Co., 103 F. Supp. 2d 1187, 1189 (N.D. Cal. 2000). “. . . an insurance
adjuster . . . may not be held individually liable for actions taken on behalf of the
insurer.” Id. at 1190; See also Sanchez v. Lindsey Morden Claims Services, Inc.
(1999) 72 Cal. App. 4th 249, 253; 84 Cal. Rptr. 2d 799.

In this case, RiverStone acted on behalf of Ranger, the insurer, as its agent
for the purpose of handling claims. The insurance contract was solely between
Ranger and Monarch. Monarch does not allege that RiverStone was a party to the
insurance contract or that RiverStone acted in any capacity other than as claims
agent for Ranger. Therefore, pursuant to California law, RiverStone does not
have any independent liability to Monarch.

B. RiverStone Is an Agent of Ranger and Owes No Dutv to

Monarch

RiverStone is the agent of Ranger. There is no privity of contract between
RiverStone and Monarch. “An adjuster owes a duty to the insurer who engaged
him. A new duty to the insured would conflict with that duty and interfere with its
faithful performance.” Sanchez v. Lindsey Morden Claims Services, Inc. (1999)
72 Cal. App. 4th 249, 253. The complaint alleges that RiverStone_had a duty to
Monarch to act in good faith. The covenant of good faith and fair dealing is
implied to prevent a contracting party from engaging in conduct that frustrates the
other party’s rights to receive the benefits of the agreement Waller v. Truck
Exchange, Inc. (1995) 11 Cal.4th 1, 36. Claims agents, such as RiverStone, are
not parties to the insurance contract and not subject to the covenant of good faith
and fair dealing. See Egan v. Mutual of Omaha Ins. C0. (1979) 24 Cal. 3d 809,

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824, Gmenberg v. Aetna Ins. C0. (1973) 9 Cal. 3d 566, 576.
C. Plaintiff Cannot Assert a Claim for Violation of § 17200, et seg.

Against RiverStone y
Similarly, Monarch cannot state a claim for violation of § 17200, et seq.

against RiverStone “. . . an insurance adjuster . . . may not be held individually

liable for actions taken on behalf of the insurer. ” Icasiano v. Allstate Ins. C0. ,

103 F. Supp. 2d 1187, 1190 (N.D. Cal. 2000).

VI. PLAINTIFF FAILS T() STATE A CLAIM FOR DECLARATORY
RELIEF UPON WHICH RELIEF CAN BE GRANTED
The claim for declaratory relief is duplicative of the claim for relief for

breach of contract. Since the claim for relief for breach of contract fails, the

complaint fails to state a claim for which declaratory relief can be granted See

General Star Indemnity Company v. Schools Excess Liability Fund 888 F. Supp.

1022, 1028 (N.D. Cal. 1995). Accordingly, Ranger respectfully requests this

Court to dismiss Monarch’s claim for relief for declaratory relief .

VII. PLAINTIFF FAILS TO STATE A CLAIM AGAINST RANGER FOR
BREACH OF CONTRACT UPON WHICH RELIEF CAN BE
GRANTED _

` Monarch alleges unique claims for which there is no precedent and for
which there is no basis in contract, Specifically, Monarch complains that its
insurer, Ranger, spent too much of its own money defending and paying
commercial general liability claims. Unlike policies that have a retrospective
premium feature, the cost of defending and settling claims falls entirely upon
Ranger, exclusive of the deductible. There is no existing judicial authority
(outside the workers compensation system) that permits an insured to complain
over future higher premiums based upon amounts paid to settle claims. Permitting
such a claim creates a dangerous precedent that Would result in frequent denials of

coverage by insurers fearful that defending claims could expose them to claims by

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the insured that they are liable for the increase in all future premiums lnsureds
would run the risk that their insurers would fail to defend and indemnify them
because of their efforts to minimize the insureds’ loss histories. lnsurers would
run the_ risk of bad faith exposure by not defending and settling claims against their

insureds .

A. Plaintiff Cannot Assert a Claim for Breach of Contract Against

Ranger for Defending a Claim Against Monarch That Lacked
Merit

The complaint alleges that Ranger breached its contract with Monarch by
failing and refusing to evaluate claims on the merits or lack of merits (See
Complaint 1[1[ 9(a), 13, l6(f), 23(c)); by thwarting Monarch’s attempts to minimize
its loss performance history by accepting the tenders of claims that had no merit
(See Complaint 1[1[ 9(d), l6(i),23(c)), and by interfering with and thwarting
Monarch’s efforts to lessen and avoid entirely, costs and attorneys fees paid by
Ranger and thereby reduce Monarch’s insurance premiums in subsequent years
(See Complaint 11 9(d), 16(d), 16(i), 23(c)). The gravamen of these assertions is
that Ranger has not been wisely spending its own money. Unfortunately, Ranger
does not have the ability under California law to only defend those claims which
have merit. The duty to defend attaches whenever the insurer ascertains facts
which may give rise to a potential for coverage. Gray v. Zurich Ins. C0. (1966)
65 Cal. 2d 263, 276-277. Even a bare possibility of coverage is sufficient to
trigger a duty to defend. Montrose Chemical Corp. v. Superz`or Court (1993) 6
Cal. 4th 287, 300. The carrier must defend a suit which potentially seeks
damages within the coverage of the policy. Gray, supra, 65 Cal.2d at p. 276
(emphasis added). The duty of an insurer to provide a defense is broad and
applies when there is only a potential for coverage even if no covered loss is
ultimately found. Aerojet-General Corp. v. Transport lndemnily Co. (1997) 17
Cal. 4th 38, 59. Thus, the duty to defend arises when there is a potential for

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coverage under the policy. .T he duty to defend does not depend on whether claims
have merit. Montrose, supra, 6 Cal. 4th at 298. Not only can Monarch not assert
that defending claims that have no merit constitutes a breach of the insurance
contract, the allegations demonstrate that Ranger fulfilled its contractual duty to
defend Monarch.

B. Monarch Cannot Assert a Claim for Breach of Contract Against

' Ranger for Defending a Claim Against Monarch’s Additional
lnsureds That Lacked Merit or Without Monarch’s Permission

The complaint alleges that Ranger breached its contract with Monarch by
communicating and negotiating with additional insureds under the policy issued by
Ranger to Monarch without obtaining Monarch’s consent or participation (See
Complaint 1111 9(1), 13, 16(k)), and by paying defense and claim costs of additional
insureds without Monarch’s permission to its detriment, regardless of merit or lack
thereof (See Complaint 1111 9(1), 9(g), 16(k), 16(1)). As discussed above, the duty
to defend arises attaches wherever the insurer ascertains facts which give rise to a
potential for coverage. Gray, supra, 65 Cal.2d at p. 276-277.

The Ranger Policy contains a “Blanket Additional Insured(s)” endorsement
which amends Section ll - WHO lS AN INSURED under the commercial general
liability coverage form to include the person(s) or organization(s) specifically
designated as an additional insured. [Commercial General Liability Coverage
Part, Blanket Additional Insured(s) endorsement, form ACP-040 (3/97), attached
as Exhibit A to the Townsend Declaration, p. 44]. The Ranger'Policy further
provides that the insurance applies “[s]eparately to each insured against whom
claim is made or “suit” is brought.” [CGL Form, Sect. IV.7.b, attached as
Exhibit A to the Townsend Declaration, p. 21]. An additional insured
endorsement that does not expressly or implicitly limit a defense obligation
imposes a duty to defend an additional insured upon the insurer. See Presley

Homes v. Am. States Ins. Co. (1990) 90 Cal. App. 4th 571, 576-577. “The fact

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that an accident is not attributable to the named insured’s negligence is irrelevant
when the additional insured endorsement does not purport to allocate or restrict
coverage according to fault.” Vitz‘on Constmction Co., Inc. v. Pacijic Ins. Co.
(2003) 110 Cal. App. 4th 762, 767-768. In this case, the additional insured
endorsements do not expressly or implicitly limit Ranger’s defense obligation to
additional insureds and`provide coverage for liability arising out of Monarch’s
work. See Townsend Declaration, Exhibit B pages 53-61. Accordingly, the duty
to defend additional insureds was triggered when Ranger ascertained facts that
gave rise to a potential for coverage. Under California law and the express
provisions of the Ranger Policy, Ranger owed a separate duty to each additional

insured under the Ranger Policy.

C. Monarch Cannot Assert a Claim for Breach of Contract Against

Ranger for Appointing Counsel to Defend Monarch
The complaint alleges that Ranger breached its contract with Monarch by

imposing defense counsel on Monarch Without Monarch’s consent or permission.
Under California law, when an insurer agrees to provide a defense without a
reservation of rights triggering the insured’s right to independent counsel, the
insurer has the right to control the identity of defense counsel. The Ranger Policy
also makes it clear that the insurer has the right to control the defense and the
identity of defense counsel.3 l

In Appleman On Insurance Law and Practice (2nd Ed.), § 143.3 (2004 ed.),
the insurer’s right to control the defense of a claim against an insured is
summarized as follows: d

§ 143.3 . . . The insurer’s duty to defend usually entails a right to

control the defense. [Footnote omitted.] [Para.] Generally, the

insurer fulfills its duty to provide the insured with a defense by

 

_ 3 Ranger has “the right and _du_ty to defend th_e insured a]gainst an “suit”
seeking . . . damages [to which this insurance applies].” HCG Form, ect. I.l.a,
attached as Exhibit A to the Townsend Declaration, p. 13 .

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. appointing counsel to represent the insured, paying counsel’s bills for
services, and providing counsel with the guidance in conducting the
defense that the client normally provides . . .

l. Under California law, when an insurer has an obligation to
provide a defense under an insurance policy, it controls the defense unless it
reserves its rights in a manner which triggers the right to independent counsel `
under California Civil Code § 2860. Control over the defense is a broad concept
which generally includes, inter alia, the right to select defense counsel, the right to
decide how and when to settle a case and which affirmative defenses to assert. In
State Farm Mutual Automobile lns. Co. v. Federa_l Ins. Co. (1999) 72 Cal.App.4th
1422, 1429, the Court of Appeal noted that the insurer characteristically engages
and pays the attorney to defend the insured citing American Mutual Liability Ins.
Co. v. Superior Court (Nork) (1974) 38 Cal.App.3d 579. See also Safeco
Insurance Company of America v. The Superior Court of Contra Costa Counly
(1999) 71 Cal.App.4th 782, 787, 789-790 [“[w]hen the insurer provides a defense
to its insured, the insured has no right to interfere with the insurer’s control of the
defense . . .]; Carolina Casualty Ins. C0. v. Bolling, Walter & Gawthrop, 2005
U.S. Dist. LEXIS 20485 .(E.D. Cal. May 31, 2005) pp. 21-22 ["An insurer
generally has the right to select counsel; a contrary rule would be inconsistent with
the insurer’s right to control the defense and would place the insurer in the
untenable position of being financially liable but powerless to ensure the claim is
properly defended"]. 4

Here, there is no reservation of rights triggering a right to independent

counsel and no conflict warranting appointment of independent counsel. The issue

' of whether an insurer has the right to determine the identity of legal counsel to

represent an insured in a third party action was recently addressed by Judge
Damrell in the case of Carolina Casualty Insurance Company v. Bolling, Walter &

Gawthrop 2005 U.S. Dist. LEXIS 20485 (E.D. Cal. May 31, 2005). In Carolina

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Casualty, the insured law firm opted to defend itself and refused to allow the
insurer’s appointed counsel to defend a legal malpractice action based upon the
contention that the insured was "unwilling to pay their $50,000.00 deductible to
defend a frivolous claim. " Ia'. at p. 7. Judge Damrell found that although the
policy did not expressly state that the insurer has the right to select defense
counsel, that implicit in the right to control the defense was the right to select
defense counsel. Ia'. at p. 21. The basis for this finding was that because the
insurance company was footing the bill for the defense and would be obligated to
pay any judgment rendered, it must be able to ensure that the claim is properly
defended. [Citations omitted] Id. at pp. 21-22.

Monarch does not contend that the claims made against it are not covered or
that Ranger does not owe a duty to defend such claims. Since Ranger has the right
and the obligation to defend claims made against Monarch it also has the right to
select defense counsel to defend such claims.

D. Monarch Cannot Assert a Claim for Breach of Contract Against

_Ra_nger for Setting Reserves

The complaint alleges that Ranger breached its contract with Monarch by
setting high loss reserves on construction defect claims thereby causing increases
in the premiums which Monarch has paid for subsequent policies (See Complaint
111 16(a), 23(c), 30, 3l(g)). Insurers conducting business in California are required
by law to establish and maintain reservesl Cal. Insurance Code § 923.5. These
statutorily compelled reserves are the “amount estimated . . . to provide for the
payment of all losses and claims for which the insurer may be liable, and to
provide for the expense of adjustment or settlement of losses and claims. ” Lipton
v. Superior Court of Los Angeles vCounty (1996) 48 Cal. App. 4th 1599, 1613.
The Lipton court observed that the statute further requires that reserves be
computed in accordance with regulations promulgated by the Insurance

Commissioner, based ‘apon reasonable consideration of the ascertained

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experience and the character of such kinds of business for the purpose of
adequately protecting the insured and securing the solvency of the insurer. ’ Id. at
1613. The setting of reserves and the manner in which reserves are computed are
required by statute. Ranger cannot be held liable for doing that which it is
required by law and the Department of Insurance to do.4 Moreover, the setting of
reserves is separate from the rights and obligations of Ranger to Monarch under
the Ranger Policy. Finally, because insurers are required to post capital based on
the amounts set forth in their reserves, it is counterintuitive to suggest that insurers

would artificially increase reserves.

E. Monarch Cannot Assert a Claim for Breach of Contract -Against

Ranger for Settling Claims Without its Consent
The complaint alleges that Ranger breached its contract with Monarch by

settling claims without Monarch’s consent (See Complaint 1[ l6(e)) and by settling
claims for higher than the claims warrant (See Complaint 1111 l6(b), Bl(g), l6(b),
l6(c)) and that Ranger breached its contract with Monarch by thwarting
Monarch’s efforts to lessen and avoid entirely, indemnity payments by Ranger and
thereby reduce Monarch’s insurance premiums in subsequent years (See l
Complaint 1[1[ 9(d), 16(d), 16(i), 23(0)). It is well settled in California that an
insurer has the right to settle claims against the insured. See Jantes 3 Corporation
v. Truck Insurance Exchange (2001) 91 Cal. App. 4th 1093,v 1103, fn. 3 '(holding
that the insurer’s “right to control the defense necessarily encompasses the right to
determine what measures are cost effective, bearing in mind liability and
indemnity exposure.” See also Safeco Insurance Company of America v. The
Superior Court of Contra. Costa County (1999) 71 Cal.App.4th 782, 787, 789-_790.

Moreover, the insuring agreement provides that Ranger “may at [its]

 

4 ln_Californ_ia, an exception is made with respect to policies that contain a
retrospective premium feature. See Security O]j‘icers LS_'ervice v. State _Comp. In_s.
1117 und (1993) 7 Cal. App. 4th 887. In this case, there is no retrospective premium

eature.

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discretion . . . settle any claim or “suit” that may result.” [CGL Form, Sect.
I. 1 .a, attached as Exhibit A to the Townsend Declaration, p. 13]. Ranger’s right
to settle claims or suits in its own discretion is an express grant of discretionary

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power contained in the insuring agreement. . . . [C]ourts are not at liberty to
imply a covenant directly at odds with a contract’s express grant of discretionary
power except in those relatively rare instances when reading the provision would,
contrary to the parties’ clear intention, result in an unenforceable, illusory
agreement. '. . . all other situations . . . would result in the obliteration of a right
expressly given under a written contract. ” New Hampshire lns. Co. v. Ridout
Roofing Co. Inc. (1998) 68 Cal. App. 4th 495 , 501 citing Third Story Music, Inc.
v. Waits (1995) 41 Cal. App. 4th 798, 808. In Ridout Roofing, the insured
contended that settlements were made predominantly to save costs of defense and
were not based on a true assessment of its liability exposure. Therefore, it argued n
that the insurer placed its own interests above that of the insured. Id. at 505. The
court held that the insured suffered no detriment from the insurer’s settlement of
the claims and that the insured did not have any right to object to a settlement
within policy limits even though such settlements were within the insured’s
deductible. The court noted that in fulfilling its obligation to defend, the insurer
was “ . . . entitled to rely on the policy terms vesting in it the discretion and power
to settle claims . . .” Id. at 506-507.r See also Western Polymer Technology, Inc. -
v. Reliance Ins. Co. (1995) 32 Cal. App. 4th 14, 27 [“A liability insurance
policy’s purpose is to provide the insured With a defense and indemnification for
third party claims within the scope of the coverage purchased, and not to insure
the entire range of the insured’s well-being. ”] In Ridout Roofing, the insurer
settled 11 construction defect claims and then sought reimbursement from the
insured for $50,000 in deductibles. }The court held not only did the insurer have a
duty to defend but that “ in the course of fulfilling that obligation, it was entitled to

rely on the policy terms vesting in it the discretion and power to settle

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claims-including using the insured ’s deductibles to help do so. ” Ridout Roofing,
supra, 68 Cal. App. 4th 495, 506-507. Even when an insurer commits the
insured’s money, in the form of deductibles, toward the resolution of a claim, the
insurer has the right to settle claims without the consent of the insured.
VIII. MONARCH FAILS TO STATE A CLAIM AGAINST RANGER FOR
BREACH OF THE COVENANT OF GO()D FAITH AND FAIR
_DEALING UPON WHICH RELIEF CAN BE GRANTED
The covenant of good faith and fair dealing is implied as supplement to the
express contractual covenants to prevent an insurer from unreasonably denying
benefits under its policy. Thus, a claim for bad faith cannot be maintained unless
policy benefits are due. Waller v. Truck Exchange, Inc. (1995) ll Cal. 4th l, 36.
A. Ranger has no duty to apprise Monarch of actions and
communications taken on behalf of additional insureds because
the additional insureds are adverse litigants to Monarch and

under California law and the policy, Ranger owes a Senarate dutv
tamm

 

The complaint alleges that Ranger breached the covenant of good faith and
fair dealing by unreasonably and without proper cause failing and refusing to
respond to Monarch’s requests to be apprised of claims made on additional insured
endorsements and of Ranger’s actions and communications on such claims. (See
Complaint 11 23(a)).

v The Ranger Policy contains a “Blanket Additional Insured(s)” endorsement
which amends Section II - WHO IS AN INSURED under the commercial general
liability coverage form to include the person(s) or organization(s) specifically
designated as an additional insured. [Commercial General Liability Coverage
Part, Blanket Additional Insured(s) endorsement, form ACP-040 (3/97), attached
as Exhibit A to the Townsend Declaration, p. 44]. The Ranger Policy further

provides that the insurance applies “[s]eparately to each insured against whom

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claim is made or “suit” is brought.” [CGL Form, Sect. IV.7.b2 attached as
Exhibit A to the Townsend Declaration, p. 21]. Under the Ranger Policy, Ranger
owes a separate duty to an additional insured equal to that of the duty owed to the
named insured. In this case, the additional insureds were adverse litigants to
Monarch. Ranger could not apprise Monarch with respect to actions and
communications taken on behalf of additional insureds just as Ranger could not
apprise third-parties with respect to actions and communications taken on behalf of
Monarch.

B. Ranger has no duty to seek or obtain Monarch’s input and
expertise on claims because under the express terms of the
insurance policy, Ranger has the right to control the defense

The complaint alleges that Ranger breached the covenant of good faith and

fair dealing by controlling-the defense of the actions and by failing to seek or

obtain Monarch’s input and expertise on claims even though Ranger was well

aware that Monarch was the best and most knowledgeable source about the actual

merit or lack of merit of the claims (See Complaint 1111 23(b), 31(a)). Ranger
disagrees with Monarch’s characterization of itself as the best and most
knowledgeable source regarding the actual merit or lack of merit of any claim
against it and it is unusual for an insured to admit that it a claim made against it
has merit. However, even assuming Monarch is the best and most knowledgeable
source regarding the actual merit or lack of merit of claims against it, Ranger has
no duty to seek or obtain Monarch’s input or expertise. Under California law, an
insurer that owes a duty to defend has the right to control the defense. The
complaint does not allege that Ranger has reserved rights on any issue which
would create a_ Cumis conflict. See Safeco Insurance Company of America v. The
Superior Court of Contra Costa County (1999) 7l Cal.App.4th 782, 787, 789-790
[When the insurer provides a defense to its insured, the insured has no right tol

interfere with the insurer’s control of the defense]. This allegation is nothing

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1 more than a backdoor attempt to create a consent to settle right under the Ranger

2 policy which does not exist.

3 Based on California law, Ranger has no duty to seek or obtain the

4 expertise or input of Monarch with respect to defending claims made against it.

5 Therefore, Monarch cannot state a claim for relief for the breach of the covenant

6 of good faith and fair dealing for Ranger’s failure to do so.

7 C. The benefits Monarch is claiming it was denied are not benefits

8 under the policy 4

9 The complaint alleges that Ranger breached the covenant of good faith and
1 0 fair dealing by unreasonably and narrowly interpreting the Ranger policy in a
1 1 manner calculated to deny benefits due to plaintiff under the policies.
12 (i) Monarch asserts that Ranger denied policy benefits to it by
1 3 not allowing Monarch to request of claimants whether such
1 4 claimants have an actual, factual basis for such claims tSee
15 Complaint 1111 91a1, 13, 16§f!, 231c1)
1 6 Ranger had a duty to defend insureds under the policy irrespective of
1 7 whether the claims had merit. Once Ranger provided a defense, it had the right to
1 8 control that defense. Therefore, Ranger had no duty to allow Monarch to request
1 9 of claimants whether such claimants had an actual, factual basis for a claim.
2 O~ Moreover, the contacting of claimants is not a benefit due under the Ranger
2 1 Policy. In accordance with Waller v. Truck Exchange (1995) ll Cal. 4th 1, 35-36
22 a claim-for bad faith cannot be maintained.

' 2 3 (ii) Monarch asserts that Ranger denied nolicv benefits to it bV
2 4 setting high loss reserves for claims §See Complaint 111 16§a!,
2 5 231c1, 3011 g
2 6 As discussed above, insurers conducting business in California are required
27 to establish and maintain reserves. Cal. Insurance Code § 923.5. The
2 8 computation of such reserves are required by law. Accordingly, this claim for

cHARLSToN, REV.CH 17

 

a CHAMBER'-'N '-'-F’ MOTION OF DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

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relief cannot be articulated as a benefit due under the Ranger Policy. In

accordance with Waller v. Truck Exchange (1995) 11 Cal. 4th l, 35-36, a claim

for bad faith cannot be maintained n

(iii) Monarch asserts that Ranger denied Dolicv benefits to it bv
negotiating settlements without evaluating the merits of the
claim _

Under California law and the express provisions of the Ranger Policy,
Ranger has the right to settle claims regardless of whether such claims have merit.
James 3 Corporation v. Truck Ins. Exch. (2001) 91 Cal. App. 4th 1093, The
insuring agreement provides that Ranger “may at [its] discretion . . . settle any
claim or “suit” that may result.”. [CGL Form, Sect. I. l .a, attached as Exhibit A to
the Townsend Declaration]. Ranger’s right to settle claims or suits at its own
discretion is an express grant of discretionary power contained in the insuring
agreement. Ne_w Hampshire lns. Co. v. Ridout Roofing Co. Inc. (1998) 68 Cal.
App. 4th 495, 501. Accordingly, this claim for relief cannot be articulated as a
benefit due under the Ranger Policy, and is, in fact, an express right of Ranger
under the policy. In accordance with Waller v. Truck Exchange (1995) ll Cal.
4th l, 35-36, a claim for bad faith cannot be maintained.

IX. PLAINTIFF FAILS TG STATE A CLA]l\/I AGAINST RANGER FOR
VIOLATION OF § 17200 UPON'WHICH RELIEF CAN BE
GRANTED
The complaint alleges that Ranger is in violation of § 17200, et seq. of the

 

California Business & Professions Code with respect to the manner in which it has

been administering claims made against Monarch. Specifically, Monarch asserts

that Ranger has engaged in and continues to engage in unlawful, unfair and/or

deceptive business acts and practices in violation of § 17200 et seq. , the contracts
(i.e., policies) and California law.
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CHARLsToN, REvch 18

a CHAMBER'-'N '-'-P MOTION OF Dlzl*l:NDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

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A. Monarch’s claim for relief for violation of § 17200 fails as a

matter of law because Monarch»has an adequate remedy at law
It is essential that plaintiff have no adequate remedy at law in order to plead

a claim for violation of § 17200. Heighley v. J. C. Penney Life Insurance Co., et
al, 257 F.Supp. 2d l24l, 1259-1260 (C.D. Cal. 2003). In this case, although the

complaint alleges that the plaintiff has no adequate remedy at law, the plaintiff also ,

alleges that each action or inaction outlined in the complaint systematically
breached Ranger~’ s policy of insurance. See Complaint 1111 lO, 3l(i), 32, 33.
Monarch has an adequate remedy at law because its claims can be addressed
through a claim for breach of contract. Accordingly, Monarch’s claim for relief
for violation of § 17200 fails as a matter of law. n
B'. Monarch’s claim for relief for violation of § 17200 fails as a
matter of law because Monarch has received all benefits due
under the Ranger Policy and has not suffered an injury in fact
Pursuant to § 17204 and Prop. 64 (2004), a plaintiff must be someone who
has suffered an injury in fact and has lost money or property as a result of the
violation. See Arizona Cartridge Remanufacturers Ass ’n v. Lexmark Int’l, Inc. ,
421 F.3d 981, 985, fn 4 (9th Cir. 2005). Monarch has received all benefits due it
under the Ranger Policy because Monarch has been fully defended and
indemnified. Accordingly, Monarch has not'suffered an injury in fact and its

claim for relief for violation of § 17200 fails as a matter of law.

C. Monarch’s claim for relief for violation of § 17200 fails as a
matter of law because Monarch has not complied With procedural

requirements
Business & Professions Code § 17203 and Prop. 64 (2004) requires private

representative claims to comply with the procedural requirements applicable to
class-action lawsuits. Monarch’s complaint is a private representative claim that

prays for restitution and/or disgorgement, including interest, to all persons who

CHARLsToN, REvch 19

§ CHAMBERL"N LLP MOTION OF DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM _

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1 were injured since April 25, 2002. Monarch’s complaint has not complied with
2 the procedural requirements applicable to class-action suits and, therefore, fails as
. 3 'a matter of law.
4 X. CONCLUSION
5 For the foregoing reasons, defendants Ranger and RiverStone respectfully
6 request this Court to dismiss Plaintiff’s complaint in its entirety pursuant to Rule
7 12(b)(6). '
8
9 DATED: June 26, 2006 Respectfully submitted,
1 O §§§]l§lli§'l&)NK§§g/%§§I & CHAMBERLIN LLP
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13 By: M/ W/£dcd¢/(L\
1 4 Kobert W. Keaster, \
Attorneys for Ran er Insurance Company
15 and RiverStone C aims Management, LLC
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5 CHAMBER'-'N LLP MOTION OF DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

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